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                              UNITED STATES JUDICIAL PANEL
                                           on
                               MULTIDISTRICT LITIGATION



IN RE: ETHICON, INC., PELVIC REPAIR
SYSTEM PRODUCTS LIABILITY LITIGATION                                                   MDL No. 2327



                                  (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −158)



On February 7, 2012, the Panel transferred 36 civil action(s) to the United States District Court for
the Southern District of West Virginia for coordinated or consolidated pretrial proceedings pursuant
to 28 U.S.C. § 1407. See 844 F.Supp.2d 1359 (J.P.M.L. 2012). Since that time, 1,243 additional
action(s) have been transferred to the Southern District of West Virginia. With the consent of that
court, all such actions have been assigned to the Honorable Joseph R Goodwin.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Southern District of West Virginia and assigned
to Judge Goodwin.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Southern District of West Virginia for the reasons stated in the order of February 7, 2012, and, with
the consent of that court, assigned to the Honorable Joseph R Goodwin.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Southern District of West Virginia. The transmittal of this order to said Clerk
shall be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk
of the Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:



                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel

     Feb 23, 2015
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 IN RE: ETHICON, INC., PELVIC REPAIR
 SYSTEM PRODUCTS LIABILITY LITIGATION                                    MDL No. 2327



                   SCHEDULE CTO−158 − TAG−ALONG ACTIONS



   DIST     DIV.      C.A.NO.      CASE CAPTION


 MONTANA

    MT        6       14−00075     Deveraux v. Johnson & Johnson et al
                                                                          Page 1 of 2
    Case 2:12-md-02327 Document 1476 Filed 02/23/15 Page 3 of 7 PageID #: 17976


           Activity in Case MDL No. 2327 IN RE: Ethicon, Inc., Pelvic Repair System Products
           Liability Litigation CTO Final Minute Order (Clerks)
           JPMLCMECF
           to:
           JPMLCMDECF
           02/23/2015 08:13 AM
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                      United States Judicial Panel on Multidistrict Litigation

Notice of Electronic Filing

The following transaction was entered on 2/23/2015 at 8:12 AM EST and filed on 2/23/2015
Case Name:           IN RE: Ethicon, Inc., Pelvic Repair System Products Liability Litigation
Case Number:         MDL No. 2327
Filer:
Document Number: No document attached

Docket Text:
***TEXT ONLY ENTRY***

MINUTE ORDER - TO INVOLVED CLERKS - Conditional Transfer Order (CTO-158)
Finalized on 2/23/15. Please see pleading ([1888] in MDL No. 2327, 4 in MT/6:14-cv-
00075).

As stipulated in Rule 7.1(c) of the Rules of Procedure of the Judicial Panel on
Multidistrict Litigation, transmittal of the order has been stayed 7 days to give any party
an opportunity to oppose the transfer.




file:///C:/Users/Tina%20Smith2/AppData/Local/Temp/notes142542/~web0924.htm                      2/23/2015
                                                                          Page 2 of 2
    Case 2:12-md-02327 Document 1476 Filed 02/23/15 Page 4 of 7 PageID #: 17977


The 7-day period has now elapsed, no opposition was received, and the order is
directed to the Clerk of the United States District Court for the S.D. West Virginia for
filing. The Panel governing statute, 28 U.S.C. 1407, requires that the transferee clerk
transmit a certified copy of the Panel order to transfer to the clerk of the district court
from which the action is being transferred.

Signed by Clerk of the Panel Jeffery N. Luthi on 2/23/2015.

Associated Cases: MDL No. 2327, MT/6:14-cv-00075 (dn)

Case Name:       Deveraux v. Johnson & Johnson et al
Case Number:     MT/6:14-cv-00075
Filer:
Document Number: No document attached

Docket Text:
***TEXT ONLY ENTRY***

MINUTE ORDER - TO INVOLVED CLERKS - Conditional Transfer Order (CTO-158)
Finalized on 2/23/15. Please see pleading ( [1888] in MDL No. 2327, 4 in MT/6:14-cv-
00075).

As stipulated in Rule 7.1(c) of the Rules of Procedure of the Judicial Panel on
Multidistrict Litigation, transmittal of the order has been stayed 7 days to give any party
an opportunity to oppose the transfer.

The 7-day period has now elapsed, no opposition was received, and the order is
directed to the Clerk of the United States District Court for the S.D. West Virginia for
filing. The Panel governing statute, 28 U.S.C. 1407, requires that the transferee clerk
transmit a certified copy of the Panel order to transfer to the clerk of the district court
from which the action is being transferred.

Signed by Clerk of the Panel Jeffery N. Luthi on 2/23/2015.

Associated Cases: MDL No. 2327, MT/6:14-cv-00075 (dn)

No public notice (electronic or otherwise) sent because the entry is private




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                                                                          Page 1 of 3
    Case 2:12-md-02327 Document 1476 Filed 02/23/15 Page 5 of 7 PageID #: 17978


           Activity in Case MDL No. 2327 IN RE: Ethicon, Inc., Pelvic Repair System Products
           Liability Litigation Conditional Transfer Order Finalized
           JPMLCMECF
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                                             United States

                       United States Judicial Panel on Multidistrict Litigation

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Case Name:           IN RE: Ethicon, Inc., Pelvic Repair System Products Liability Litigation
Case Number:         MDL No. 2327
Filer:
Document Number: 1888

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-158) - 1 action(s) re: pldg. ([1884] in
MDL No. 2327, 2 in MT/6:14-cv-00075) Inasmuch as no objection is pending at this time,
the stay is lifted.



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                                                                           Page 2 of 3
     Case 2:12-md-02327 Document 1476 Filed 02/23/15 Page 6 of 7 PageID #: 17979


Signed by Clerk of the Panel Jeffery N. Luthi on 2/23/2015.

Associated Cases: MDL No. 2327, MT/6:14-cv-00075 (dn)

Case Name:       Deveraux v. Johnson & Johnson et al
Case Number:     MT/6:14-cv-00075
Filer:
Document Number: 4

Docket Text:
CONDITIONAL TRANSFER ORDER FINALIZED (CTO-158) - 1 action(s) re: pldg. ( [1884] in
MDL No. 2327, 2 in MT/6:14-cv-00075) Inasmuch as no objection is pending at this time,
the stay is lifted.

Signed by Clerk of the Panel Jeffery N. Luthi on 2/23/2015.

Associated Cases: MDL No. 2327, MT/6:14-cv-00075 (dn)


MDL No. 2327 Notice has been electronically mailed to:

Carl N Frankovitch      carl@facslaw.com, terry@facslaw.com

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Marc E. Williams       marc.williams@nelsonmullins.com

MDL No. 2327 Notice will not be electronically mailed to:

MT/6:14-cv-00075 Notice has been electronically mailed to:

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Colette B. Davies      cdavies@davieslawmt.com

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The following document(s) are associated with this transaction:



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    Case 2:12-md-02327 Document 1476 Filed 02/23/15 Page 7 of 7 PageID #: 17980


Document description:Main Document
Original filename:n/a
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61d60c8445674aa1039c5748bcfe92da5062b5684a787cc93f087078e51]]




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